Case 2:04-cr-20388-SH|\/| Document 83 Filed 07/20/05 Page 1 of 2 Page|D 112

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE

FH-B BY § n.c.

wEsTERN DIvJ:sION 05 JUL 20 PH l¢’ 33

U'NITED STATES OF AMERICA,
Plaintiff,
vs. CR. NO. 04-20388-Ma

HAROLD L. YANCY,
JERRY B. RODGERS,

-._/~_»¢V\.._/-._/~_/~_.z\._r~._/V

Defendants.

m THOMAS M.
wm OF m hi:,~.°z.ePHS

 

ORDER ON CONTINUANCE AND SPECIFYING PERIOD OF EXCLUDABLE DELAY

 

This cause came on for a hearing on July 18, 2005. Defense
counsel requested a continuance of the present trial date in order
to allow for additional preparation in the case.

The Court granted the request and continued the trial to the
rotation docket beginning September 6, 2005 at 9:30 a.m., with a
report date of Wednesday, August 24, 2005 at 1:30 p.m.

The period from July 18, 2005 through September 16, 2005 is
excludable under 18 U.S.C. § 3161(h)(8)(B)(iv) because the
interests of justice in allowing additional time to prepare
outweigh the need for a speedy trial.

1544

IT IS SO ORDERED this day Of July, 2005.

y(//wi.._\

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

This dccl_ment entered on the docket e;l§‘zmpl‘
with Rufe 55 and!or Ssz) FHCrP on "'

33

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 83 in
case 2:04-CR-20388 Was distributed by faX, mail, or direct printing on
July 22, 2005 to the parties listed.

ENNESSEE

 

William C. Anderson
ANDERSON LAW FIRM
142 North Third St.
1\/1emphis7 TN 38103

Michael EdWin Scholl

THE SCHOLL LAW FIRM
8 S. Third St.

Fourth Floor

1\/1emphis7 TN 38103--238

Tracy Lynn Berry

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

1\/1emphis7 TN 38103

Samuel L. Perkins

SL PERKINS LAW GROUP, PLLC
147 Jefferson Ave.

Ste. 804

1\/1emphis7 TN 38103

Honorable Samuel Mays
US DISTRICT COURT

